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                      IN THE UNITED STATES DISTRICT COURT


                     FOR THE SOUTHERN DISTRICT OF GEORGIA


                                   AUGUSTA DIVISION


JOSEPH ALLEN CLARK,III,

              Petitioner,

       V.                                                  CV 120-008


TIMOTHY C. WARD,Commissioner,
Georgia Department of Corrections,

              Respondent.


                                          ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which no objections have been filed. Accordingly,

the Court ADOPTS the Report and Recommendation of the Magistrate Judge as its opinion,

GRANTS Respondent's motion to dismiss,(doc. no. 14), DENIES AS MOOT Petitioner's

motions to have exhibits entered, (doc. nos. 4-6), and DISMISSES as untimely the instant

petition brought pursuant to 28 U.S.C. § 2254.

       A prisoner seeking relief under § 2254 must obtain a certificate of appealability

("CCA") before appealing the denial of his application for a writ of habeas corpus. This

Court "must issue or deny a certificate of appealability when it enters a final order adverse to

the applicant." Rule 11(a) to the Rules Governing Section 2254 Proceedings. This Court

should grant a COA only if the prisoner makes a "substantial showing of the denial of a
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constitutional right." 28 U.S.C. § 2253(c)(2). For the reasons set forth in the Report and

Recommendation, and in consideration of the standards enunciated in Slack v. McDanieL

529 U.S. 473, 482-84 (2000), Petitioner has failed to make the requisite showing.

Accordingly, the Court DENIES a COA in this case.' Moreover, because there are no non-

frivolous issues to raise on appeal, an appeal would not be taken in good faith, and Petitioner

is not entitled to appeal                   See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action and DIRECTS the Clerk to

enter final judgment in favor of Respondent.

       SO ORDERED this                  of-                     _, 2020, at Augusta, Georgia.




                                            j. randtC hall,^hief judge
                                            UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF GEORGIA




       '"If the court denies a certificate, the parties may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2254 Proceedings.
